                      Case 1:21-mj-00511-RMM Document 1 Filed 06/30/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
FI DUONG (AKA: "Jim," "Monkey," & "Monkey King")                     )      Case No.
                                                                     )
                DOB: XXXXXX
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                    January 6, 2021              in the county of                                  in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) and (2) - (1) knowingly enter or remain in any restricted building or grounds without
        lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
        Government business or official functions, engage in disorderly or disruptive conduct in, or within such
        proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts
        the orderly conduct of Government business or official functions,
        40 U.S.C. § 5104(e)(2)(D) and (G) - Disorderly Conduct on Capitol Grounds,
        18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding.
          This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Jason Jankovitz, Special Agent
                                                                                               Printed name and title
 $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
 E\WHOHSKRQH
                                                                                                           2021.06.30
Date:
                                                                                                           16:52:26 -04'00'
                  06/30/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
